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In March 2018, I completed the application process with the Fayette County
Public Schools System to be a substitute teacher. As required, I had a background
check, fingerprints, and a physical exam done. I met with Kiyon Massey and
Tanea Allen, Human Resources staff from the Fayette County Public Schools. The
meeting went well. I shared with Ms. Massey that the Kentucky School for the
Deaf (KSD) allows individuals who do not know sign language to serve as
substitutes with the aid of an interpreter. Fayette County Public Schools should
be willing to do a similar thing. I noted that it would be good for hearing
students to see how a deaf individual could work with an ASL interpreter to be
an effective substitute teacher. They seemed very open to me being a substitute
teacher and advised that I should complete the "Substitute Quick Start Guide for
Aesop."

While filling out the quick start guide for Aesop, I had to contact Ms. Massey
several times for assistance. It was very difficult to get a hold of her. After two
months, we finally spoke over the phone and she indicated that she had
removed my name from the Aesop system. She explained that I could not teach
hearing students because it would be too costly and too impractical to get an
ASL Interpreter on such short notice. But the need for a substitute is not always
due to an unexpected illness or family emergency. Ms. Allen had shown me that
Fayette County Public Schools often knows well in advance - often weeks or
months ahead of time- of a teacher's absence. In these cases, there is more
than enough time to provide an ASL Interpreter.

Show email notes from Ms. Massey were she says "We are not going to give you
the accommodation that we agreed to give you". Because they refused to
provide accommodations to do my job, give me the job. They hired me to do.

I meet or exceed all of the other requirements to be a substitute teacher. I have
a college degree and I had a professional teaching license from 1996-1999. I
taught ASL in a hearing classroom for two years. In total, I have taught hearing
students in schools, universities, and adult education for thirty years. In that
time, I have never had any problems having an ASL interpreter provided when
needed.
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I believe, therefore, the failure of Fayette County Public Schools to make this
reasonable accommodation of my disability is a clear violation of Title I of the
Americans with Disabilities Act (ADA) of 1990, as amended.

Any guidance or assistance you might provide is greatly appreciated. Thank
you for your time and consideration of my request.

s;;;ly,
Arlene                                                         Eastern District of Kentucky
                                                                      FILED
                                                                     DEC 0 4 2018
                                                                          AT LEXINGTON
                                                                        ROBERT R. CARR
                                                                 :'.:LERK U.S. DISTRICT COURT
